Appeal: 12-2152     Doc: 20        Filed: 04/09/2013 Pg: 1 of 1
                   Case 8:11-cv-01457-RWT Document 22 Filed 04/09/13 Page 1 of 1




                                                                          FILED: April 9, 2013


                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT


                                          ___________________

                                               No. 12-2152
                                          (8:11-cv-01457-RWT)
                                          ___________________

        JOHN B. KIMBLE

                        Plaintiff - Appellant

        v.

        M.D. RAJESH K. RAJPAL; SEE CLEARLY VISION LLC

                        Defendants - Appellees

                                          ___________________

                                             MANDATE
                                          ___________________

                  The judgment of this court, entered 2/28/13, takes effect today.

                  This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                                    /s/Patricia S. Connor, Clerk
